                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                                NEWNAN DIVISION

E.F., a minor, by and through,
LAQUARBASHAUN FORD,
his mother,

         Plaintiff,
                                                    CIVIL ACTION FILE
v.
                                                    NO. 3:19-cv-141-TCB
TROUP COUNTY SCHOOL DISTRICT,
BRIAN SHUMATE,
in his individual and official capacity,
and ALTON WHITE, in his individual
and official capacity,

         Defendants.

     PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF MOTION
       FOR RECONSIDERATION OF COURT’S ORDER TO ABSTAIN

         Plaintiff E.F., by and through his mother, Laquarbashaun Ford, respectfully

submits this Memorandum of Law in support of his motion for reconsideration of

the Court’s Order to abstain [20] from reaching E.F.’s constitutional claims under

the First Amendment. E.F. respectfully suggests that the Court erred as a matter of

law by invoking Younger abstention on grounds that: (1) the possibility of mooting

the state proceeding constitutes undue interference with the state process 1; (2) that



1
    Order, Dkt. No. [20] at 12.
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the Georgia school discipline appeal process would provide an adequate opportunity

for E.F. to raise his constitutional claim and seek the immediate relief he requested2;

(3) there is no evidence that E.F. is suffering irreparable harm3; and (4) there is no

evidence that E.F. does not have an adequate alternative state forum where

constitutional issues can be raised.4 E.F. requests that the Court reconsider its

decision to abstain, accept jurisdiction, and grant E.F.’s Motion for Preliminary

Injunction.

    I.   E.F.’s federal proceeding will not unduly interfere with his state appeal
         proceeding.

         E.F. respectfully requests that this Court reconsider its conclusion that

because E.F.’s federal requested relief may moot the state proceeding on his

constitutional issue, undue interference is established and abstention is warranted.

See Order, Dkt. No. [20] at 12. The first Middlesex factor requires a showing that

the federal proceeding will interfere with an ongoing state proceeding. “If there is

no interference, then abstention is not required.” 31 Foster Children v. Bush, 329

F.3d 1255, 1276 (11th Cir. 2003); see also Walker v. City of Calhoun, 901 F.3d

1245, 1254 (11th Cir. 2018); Green v. Jefferson Cnty. Comm’n, 563 F.3d 1243, 1251



2
  Id. at 15-17.
3
  Id. at 17.
4
  Id.
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(11th Cir. 2009); Wexler v. Lepore, 385 F.3d 1336, 1341 (11th Cir. 2004); Murphy

v. Farmer, 176 F. Supp. 3d 1325, 1352 (N.D. Ga. 2016); M.R. v. Bd. of Sch.

Comm’rs, No. 11-0245-WS-C, 2012 U.S. Dist. LEXIS 123710, at *23-24 (S.D. Ala.

2012).

      In determining whether federal relief would unduly interfere with state

proceedings, the U.S. Supreme Court has ruled that “we do not look narrowly to

[state’s] interest in the outcome of the particular case – which could arguably be

offset by a substantial federal interest in the opposite outcome. Rather, what we look

to is the importance of the generic proceedings to the State.” New Orleans Pub.

Serv., Inc. v. Council of the City of New Orleans, 491 U.S. 350, 365 (1989)

(emphasis in original). “[E]ven when a federal case implicates important state

interests, ‘federal courts ordinarily should entertain and resolve on the merits an

action within the scope of a jurisdictional grant, and should not refuse to decide a

case in deference to the States.’” Tokyo Gwinnet, LLC v. Gwinnet Cty., No. 17-

11871, 2019 U.S. App. LEXIS 30455, at *25 (11th Cir. 2019) (citing Sprint

Commc’ns, Inc. v. Jacobs, 571 U.S. 69, 73 (2013)). In Wexler v. Lepore, the

Eleventh Circuit Court of Appeals stated,

      The district court concluded that the relief sought by Appellants would
      directly interfere with the state proceeding: seemingly by potentially
      rendering moot the state proceeding. We concluded that this
      determination constituted an error of law: without showing an undue
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      interference on state proceedings, abstention is not permitted . . . . A
      dispositive decision by either court does not offend the respectful
      relationship between state and federal courts, or would it place the
      district court in the role of supervisor of state litigation or the state
      court.

385 F.3d 1336, 1341 (11th Cir. 2004) (emphasis added).

      The question is whether the federal relief requested would interfere with the

state court process. 31 Foster Children, 329 F.3d at 1276. Examples of cases where

the federal relief would interfere with the state process include requests to enjoin the

state process or implementation of an unconstitutional state statute, see, e.g.,

Middlesex, 457 U.S. at 428-29, requests that would indirectly control or enjoin the

state process, see, e.g., O’Shea v. Littleton, 414 U.S. 488, 500 (1974), or requests

that would require federal court oversight of state court operations, see e.g., 31 Foster

Children, 329 F.3d at 1279. However, courts should “not accept that the existence

of a parallel state court action would warrant abstention in federal court, unless the

requested federal relief would result in meticulous and burdensome federal oversight

of state court or court-life functions.” Wexler, 385 F.3d at 1340.

      This Court cited to Doe v. Univ. of Ky., 860 F.3d 365 (6th Cir. 2017), and

G.S. v. Rose Tree Media Sch. Dist., 393 F. Supp. 3d 420 (E.D. Pa. 2019), as two

cases where courts have abstained in the school discipline context. These cases are

distinguishable from the case at hand. In Doe, the federal plaintiff filed an action in

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the district court seeking to enjoin Defendants from conducting the hearing on

constitutional due process grounds. Doe, 860 F.3d at 368. Thus, the federal relief in

Doe would preclude the state from conducting the hearing, interfering with the state

process. Id. Here, E.F.’s request for injunctive relief does not seek to enjoin the state

appeal process, nor does E.F. allege that the state process is unconstitutional. Cf. id.

      In G.S., the U.S. District Court of Pennsylvania abstained, reasoning that “a

lack of ‘undue interference’ is not a recognized exception” in the Third Circuit. 393

F. Supp. 3d at 431 (holding that “undue interference necessarily arises” in the three

Younger exceptional circumstances and is not its own exception). However, in the

Eleventh Circuit, a showing of “undue interference” with the state process is a

requirement to abstain under the first Middlesex factor. See 31 Foster Children, 329

F.3d at 1276 (“Therefore, we join our sister circuits in explicitly stating that an

essential part of the first Middlesex factor in Younger abstention analysis is whether

the federal proceeding will interfere with an ongoing state court proceeding.”)

      Younger abstention was intended to prevent the enjoining of or undue

interference with state criminal proceedings, and later certain state civil proceedings.

The Younger Court recognized that the notion of “comity” and respect for our

system of Federalism mean recognizing the legitimate interest in both State and

Federal courts to vindicate and protect federal rights. See Younger v. Harris, 401

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U.S. 37, 44 (1971). In Younger, and the overwhelming majority of subsequent cases

that have invoked Younger abstention, the federal plaintiff was asking a federal court

to strike or enjoin the implementation of a state statute or state judicial process as

unconstitutional. However, the “concept does not mean blind deference to ‘States’

Rights’[.]” See id. Younger abstention was never intended to preclude a plaintiff

from bringing claims against a state actor alleged to have violated his constitutional

rights, even when a state administrative process is available. The “exhaustion of state

administrative remedies should not be required as a prerequisite to bringing an action

pursuant to § 1983.” Patsy v. Bd. of Regents, 457 U.S. 496, 516 (1982).

      Because E.F.’s federal request would not unduly interfere with his state

administrative appeal process, beyond the possibility of pre-empting the

constitutional issue, E.F. respectfully requests that this Court reconsider its

conclusion that mooting the state proceeding constitutes undue interference. See

Order, Dkt. No. [20] at 12 (“[T]he issuance of an injunction would moot the state

proceedings—something the Court views as undue interference with the state’s

proceedings.”). But see NOPSI, 491 U.S. at 373 (holding the possibility of federal

preemption of a pending state court action does not justify abstention); Wexler, 385

F.3d at 1341 (“A dispositive decision by either court does not offend the respectful

relationship between state and federal courts[.]”).

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 II.   The school discipline appeal process does not provide an adequate
       opportunity for E.F. to raise his constitutional claims.

       The facts of this case and the state appeal process do not satisfy the third

Middlesex factor. The state appeal process does not provide an adequate opportunity

for E.F. to raise his First Amendment claim.

       In order to invoke abstention, the state proceeding must provide an adequate

opportunity to raise constitutional challenges. Sprint, 571 U.S. at 81 (citing

Middlesex, 457 U.S. at 432). In Middlesex, the Court made clear that the mere

possibility for a federal plaintiff to raise a constitutional claim in the state proceeding

is not dispositive; rather, the state process itself must be analyzed to determine

whether the plaintiff has an “adequate opportunity” to raise his constitutional claims.

Middlesex, 457 U.S. at 435; see also News-Journal Corp. v. Foxman, 939 F.2d 1499,

1516 (11th Cir. 1991) (“Abstention questions must be resolved by close attention to

the facts of each case.”).

       In Middlesex, the Court explained that the plaintiff failed to respond to the

complaint filed by the local Ethics Committee and failed to even attempt to raise any

federal constitutional challenge in the state proceedings; that there was no evidence

that the state Ethics Committee, “the majority of whom are lawyers,” could not

consider whether the rules violated constitutional guarantees; that filing a complaint

with the state Ethics Committee “is in effect a filing with the New Jersey Supreme
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Court,” which had already “sua sponte entertained the constitutional issues” raised

by the plaintiff. The Court concluded that “[i]n light of the unique relationship

between the New Jersey Supreme Court and the local Ethics Committee, and in view

of the nature of the proceedings,” the plaintiff had an adequate opportunity to raise

his constitutional challenges in the state proceeding. Id. at 435-436.

      Here, E.F. does not have an adequate opportunity to bring his constitutional

claims in the Georgia school discipline appeal process. First, the appeal process is

confined to the discipline hearing record and such matters cannot be considered de

novo.5 See O.C.G.A. § 20-2-1160(e). Second, after a lengthy process, the state board

only has the power to affirm, reverse or remand, or refer to mediation; it does not

have the power to sua sponte entertain the constitutional issue or provide immediate

relief. See id. § 20-2-1160(b). Third, E.F. would have to overcome the stringent “any

evidence” appeal standard in order to succeed on his affirmative constitutional claim

against Defendants. See Henry Cnty. Bd. of Educ. v. S.G., 804 S.E. 2d 427, 432

(2017). Fourth, the state board would not be reviewing a challenge to the

constitutionality of a state statute, department regulation, or rules governing the state



5
  For example, E.F. would not be able to present evidence of the chilling effect
derived from Defendants’ “direct penalization” of E.F.’s speech, which is a
requirement in seeking injunctive relief. See KH Outdoor, LLC v. Trussville, 458
F.36 1261, 1272 (11th Cir. 2006).
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appeal process, but rather, the state board would be tasked to review whether

Defendant’s actions violated E.F.’s First Amendment right to free speech, as

interpreted by relevant federal case law. Although well accomplished in other fields,

the overwhelming majority, if not all, of the members of the State Board of

Education are not attorneys.6

      Furthermore, a state’s ability to resolve “constitutional challenges speedily is

an important consideration” in determining whether a federal court should abstain.

Butler v. Ala. Judicial Inquiry Comm’n, 245 F.3d 1257, 1263 n.6 (11th Cir. 2001).

Here, the state board decision will take months to be issued. See Ga. Comp. R. &

Regs. R. 160-1-3-.04(g)-(j) (prescribing 40 days for briefing after the appeal is

docketed with the state board,7 no time limit on scheduling oral argument before a

hearing officer, no time limit for the hearing officer to submit a recommendation to

the state board, no time limit for the state board to meet after oral argument, then 25

days after the state board meets to consider the hearing officer’s recommendation

and render a decision).




6
  See State Board of Education, https://www.gadoe.org/External-Affairs-and-
Policy/State-Board-of-Education/Pages/default.aspx (last visited Nov. 11, 2019).
7
  As of the filing of this motion, E.F. is still waiting for notice that his state appeal
has been docketed.
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       E.F. respectfully requests that this Court reconsider whether E.F. will have an

adequate opportunity to raise his constitutional claims in the state appeal process.

III.   E.F. is suffering irreparable harm making abstention inappropriate.

       Even if all the Sprint circumstances are satisfied, and all the Middlesex factors

are satisfied, E.F. respectfully requests that this Court reconsider whether

“irreparable injury would occur.” Abstention “is not appropriate if the federal

plaintiff will ‘suffer irreparable injury’ absent equitable relief.” See NOPSI, 491

U.S. at 366 (citing Younger, 401 U.S. at 43-44). “The loss of First Amendment

freedoms, for even minimal periods of time, unquestionably constitutes irreparable

injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976). A “direct penalization, as opposed

to incidental inhibition” of First Amendment rights cannot be remedied absent an

injunction. KH Outdoor, LLC v. Trussville, 458 F.3d 1261, 1272 (11th Cir. 2006);

see also Ne. Fla. Chapter of Ass’n of Gen. Contractors v. Jacksonville, 896 F.2d

1283, 1285 (11th Cir. 1990) (“The only area of constitutional jurisprudence where

we have said that an on-going violation constitutes irreparable injury is the area of

first amendment and right of privacy jurisprudence.”).

       The record evidence shows E.F.’s continuing irreparable harm through the

chilling of his speech. Defendants, as school officials, are not authorized to curtail

First Amendment rights outside of the school context. See Tinker v. Des Moines

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Indep. Cmty. Sch. Dist., 393 U.S. 503, 506 (1969) (“School officials do not possess

absolute authority over their students . . . In the absence of a specific showing of

constitutionally valid reasons to regulate their speech, students are entitled to

freedom of expression of their views.”) (emphasis added); see also Pl.’s Mot., Dkt.

Nos. [3-1], [18]. Defendants’ violations are “flagrantly and patently violative of

express constitutional prohibitions.” See Butler, 245 F.3d at 1264 (citing Younger,

401 U.S. at 53).

      Even if Defendants can sanction student speech that has no connection to the

school setting, E.F. must know with certainty what “gestures” are prohibited; to what

degree his props can appear to be real; and what medium, if any, he can use to share

his expression in the community. E.F. does not know what artistic expressions,

unrelated to school, school officials will find justifiable to deny E.F. public

education.8 Due to this uncertainty, when E.F. is permitted access to education again,

he will have to delete all of his artistic expression from all mediums that Defendants

may potentially have access to, or be subject to the same, if not worse, punishment,




8
 As both parties and the Court have pointed out, the level of offensiveness of
E.F.’s lyrics in the music video is not at issue in E.F.’s First Amendment free
speech claim. See Morse v. Frederick, 551 U.S. 393, 409 (2007) (holding that the
degree of offensiveness is not the test).
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depending on Defendants’ subjective interpretation of E.F.’s music.9 This causes a

chilling effect. See For Your Eyes Alone, 281 F.3d at 1219 (“Uncertainty as to the

constitutionality of the statute at issue, or as to the conduct of the state agents

implementing the statute, can in itself chill future speech.”).

      In invoking abstention, this Court cited to For Your Eyes Alone, Inc. v. City

of Columbus, 281 F.3d 1209 (11th Cir. 2002). See Order, Dkt. No. [20] at 16. This

Court reasoned that For Your Eyes Alone was easily distinguishable given that the

federal plaintiffs brought their constitutional challenge in federal court before his

criminal prosecution began. See id. This Court held that allowing such application

could result in a reverse-removal power and subsequent relitigating of issues that

had previously been argued. Id.10 However, such concerns weigh in favor of

declining abstention.



9
  Defendants conveyed to the Court that they would not punish E.F. again for his
music video even though the exact same circumstances will exist. Although E.F.
appreciates Defendants’ assurance, E.F. is wary because Defendants’ assurance
completely undercuts their required showing that E.F.’s speech would have
reasonably caused a material and substantial disruption of school operations. See
Tinker, 393 U.S. at 511. (“But, in our system, undifferentiated fear or apprehension
of disturbance is not enough to overcome the right to freedom of expression.”).
10
   For Your Eyes Alone highlights the proposition that federal courts should be
reluctant to focus too heavily on commencement dates of the state and federal
actions in determining Younger abstention, but rather, should balance the risk of
creating a “reverse removal power” allowing state prosecutors to remove federal
civil rights actions to state court, or give expansive leeway to override a plaintiff’s
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      Defendants’ constitutional violations did not become actionable until the

Troup County Board of Education issued its final decision on September 24, 2019.

See Pl.’s Ex. 4, Dkt. No. [3-7] at 2; O.C.G.A. § 20-2-754(d) (prescribing that a

decision is not final until the local board issues its decision). Since the final decision,

no other court or proceeding has addressed E.F.’s First Amendment claim except

this Court. These circumstances create “an extraordinary pressing need for

immediate equitable relief.” See Kugler v. Helfant, 421 U.S. 117, 125 (1975); see

also For Your Eyes Alone, 281 F.3d at 1220 (holding that the costs of duplication

and delay, in the First Amendment context, caused by Younger should be taken into

account).

      E.F. dreams of being a rap artist, but he understands the importance of staying

in school. See Aff. E.F., Dkt. No. [3-2] ¶ 32. Defendants have taken away both of

these opportunities from E.F. E.F. respectfully requests that this Court reconsider

whether E.F. is suffering irreparable harm.

IV.   E.F. has no alternative state forum where constitutional issues can be raised
      making abstention inappropriate.

      Even if all three Middlesex factors favor abstention, Younger abstention is

inappropriate when the there is no adequate alternative state forum where the federal


choice of whether to litigate in a federal or state forum. See For Your Eyes Alone,
281 F.3d at 1219.
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plaintiff can raise his constitutional claims. Dander v. Church of Scientology Flag

Serv. Org., 619 F. App’x 945, 948 (11th Cir. 2015). Under the state school discipline

appeal process, E.F. must first run his appeal through the State Board of Education,

then he is permitted to appeal to the Georgia Superior Court of Troup County, where

the facts are still limited to the closed record and decided under the “any evidence”

standard. See O.C.G.A. § 20-2-1160. Appeal to the Georgia Court of Appeals is by

application for that court to accept an appeal by discretion.11 For reasons explained

in Section II of this brief, E.F. does not have an adequate state forum where he can

raise his constitutional claims and seek immediate relief. See O’Hair v. White, 675

F.2d 680, 694 (5th Cir. 1982) (“[T]he mere availability of an alternative state forum

is not a sufficient basis to abstain.”).

V.       Conclusion

         E.F. filed this action and a notice of appeal to the State Board of Education as

a protective measure because failing to do so meant he “risked losing the opportunity

to obtain any review federal or state[.]” See Sprint, 571 U.S. at 75. E.F. believes that

he can prevail on his state appeal under state law claims alone, but raised

Defendants’ First Amendment violations in the state process in order to preserve all

issues. See, e.g., O.C.G.A. § 20-2-751.5(c) (requiring a showing that student’s off-


11
     See O.C.G.A. § 5-6-35(a)(1); Ga. Ct. App. Rule 31(b).
                                      Page 14 of 16
campus conduct constituted felonious conduct and school disruption for “any off-

campus behavior”). E.F. should not be precluded from federal injunctive relief

simply because he chose to exercise his appeal rights.

      E.F. respectfully requests that the Court reconsider and find the following: (1)

that the possibility of mooting the state proceeding does not constitute undue

interference with the state process in the Eleventh Circuit, under the first Middlesex

factor; (2) that the Georgia school discipline appeal process would not provide an

adequate opportunity for E.F. to raise his First Amendment free speech claim and

obtain the immediate relief he requested, under the third Middlesex factor; (3) that

E.F. is suffering irreparable harm from the ongoing chilling of his speech and denial

of a public education; and (4) E.F. does not have an alternative state forum where he

can bring his constitutional claims, making his case an “exceptional circumstance”

to refrain from invoking Younger abstention. After reconsideration, if this Court

makes any of the above findings, E.F. respectfully requests that the Court change its

position on Younger abstention, accept jurisdiction, and grant E.F.’s motion for a

preliminary injunction.

                      CERTIFICATE OF COMPLIANCE

      The undersigned counsel hereby certifies that this brief complies with L.R.

5.1B and 7.1, and that this brief is Times New Roman font size 14 point.

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  Dated November 13, 2019.

                                Respectfully submitted,

                                /s/Eugene Choi
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